          Case 2:12-cr-00088-WFN                   ECF No. 99                 filed 12/18/12                PageID.142 Page 1 of 1

*&PS8
(12/04)


                                 United States District Court
                                                                          for

                                                 Eastern District of Washington



 U.S.A. vs.                    John Lawrence Frehner                                      Docket No.               2:12CR00088-001




                                     Petition for Action on Conditions of Pretrial Release


       COMES NOW, Erik Carlson, pretrial services officer, presenting an official report upon the conduct of defendant,
John Lawrence Frehner, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting in
the Court at Spokane, Washington, on the 13th day of August 2012, under the following conditions:

District of Utah Condition #7(i): The defendant shall refrain from any use or unlawful possession of a narcotic drug and
other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                        (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant admitted to ingesting prescription pain medication without a valid prescription.

                               PRAYING THAT THE COURT WILL ORDER A SUMMONS


                                                                                             I declare under penalty of perjury that
                                                                                             the foregoing is true and correct.

                                                                                             Executed on:        12/17/2012

                                                                                    by       s/Erik Carlson

                                                                                             Erik Carlson
                                                                                             U.S. Probation Officer




 THE COURT ORDERS


 [ 1      No Action
 \v\      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other


                                                                                                Signature of Judicial Officer


                                                                                                      J-
          RECEIVED                                                                              Date

      U.S. DISTRICT COURT

           DEC 1 7 2012          c& H'->*
    UNITED STATES MAGISTRATE JUDOB
          SPOKANE WASHINGTON
